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 1 STEVEN T. GUBNER – Bar No. 156593
   JESSICA L. BAGDANOV – Bar No. 281020
 2 TAMAR TERZIAN – Bar No. 254148
   BG LAW LLP
 3 21650 Oxnard Street, Suite 500
   Woodland Hills, CA 91367
 4 Telephone: (818) 827-9000
   Facsimile: (818) 827-9099
 5 Email:     sgubner@bg.law
              jbagdanov@bg.law
 6            tterzian@bg.law

 7 Attorneys for, David Seror, Chapter 7 Trustee

 8                          UNITED STATES BANKRUPTCY COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                             SAN FERNANDO VALLEY DIVISION
11 In re                                           Case No. 1:20-bk-10276-VK
12 HORMOZ RAMY,                                    Chapter 7
13                       Debtor.                   Adv. Case No.: 1:22-ap-_____-VK
14
                                                   COMPLAINT FOR DETERMINATION
15 DAVID SEROR, Chapter 7 Trustee,                 OF SECURED STATUS OF CLAIM;
                                                   PRESERVATION OF LIEN FOR
16                       Plaintiff,                BENEFIT OF ESTATE; TURNOVER
17 vs.
                                                   Status Conference:
18 ZIBA DANESHI, an individual; ALEJANDRO          Date: [To Be Set]
   RAMY, an individual,                            Time: [To Be Set]
19                                                 Place: Courtroom 303
                       Defendants.                 21041 Burbank Blvd.
20                                                 Woodland Hills, CA 91367
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 1              David Seror, the duly appointed Chapter 7 Bankruptcy Trustee (the “Trustee”), for the

 2 Bankruptcy estate (“Estate”) of debtor Hormoz Ramy (“Debtor”), hereby alleges as follows:

 3                              NATURE OF ACTION AND JURISDICTION
 4             1.     In compliance with Local Bankruptcy Rule 7008-1, this Court has jurisdiction over

 5 this matter pursuant to 28 U.S.C. §§ 151, 157(b)(1) and (2), and 1334, as well as General Order

 6 No. 13-05 of the District Court for the Central District of California, on the basis that this action is

 7 a core proceeding as defined by 28 U.S.C. §§ 157(b)(2)(A), (B), (E), and (K), and arises in or

 8 under the chapter 7 bankruptcy case of In re Hormoz Ramy, 1:20-bk-10276-VK (the “Bankruptcy

 9 Case”) currently pending before this Court. The Trustee consents to entry of final orders or

10 judgment by this Court.

11             2.     Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a) in that

12 the instant proceeding is related to the Bankruptcy Case presently pending under Title 11 of the

13 United States Code in the United States Bankruptcy Court for the Central District of California.

14             3.     This Bankruptcy Case was commenced by the filing of a voluntary petition by

15 Debtor under Chapter 7 of Title 11 of the United States Code (beginning at 11 U.S.C. § 101, et

16 seq., the “Bankruptcy Code”) on February 4, 2020 (the “Petition Date”).

17              4.    The Trustee is informed and believes that Debtor, at all times relevant hereto is and

18 was the title owner of the real property located at 7100 Balboa Blvd, Unit 106, Van Nuys,

19 California (the “Balboa Property”).

20                                                   PARTIES
21              5.     The Trustee brings this action solely in his capacity as chapter 7 trustee for this

22 Estate.

23              6.     Ziba Daneshi is an individual residing in the Central District of California, and is

24 Debtor’s sister. Ziba Daneshi is an “insider” of the Debtor as that term is defined in Section 101

25 of the Bankruptcy Code.

26              7.     Alejandro Ramy is an individual residing in the Central District of California, and

27 is Debtor’s adult and dependent son. Alejandro Ramy is an “insider” of the Debtor as that term is

28 defined in Section 101 of the Bankruptcy Code.

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 1             OPERATIVE FACTS AND ALLEGATIONS COMMON TO ALL CLAIMS
 2             8.    On February 17, 2020, Debtor filed his Schedules and Statement of Financial

 3 Affairs [Bk. Doc. 10]. On May 26, 2020, Debtor filed amended Schedules and Statements [Bk.

 4 Docs. 22, 23].

 5             9.    Debtor disclosed in his schedules a fee simple ownership interest in the Balboa

 6 Property. The Balboa Property is a 1,641 square foot condominium with three bedrooms and three

 7 bathrooms that Debtor has owned since June 2003.

 8             10.   On February 17, 2020, Debtor filed Schedule D, listing Defendant Ziba Daneshi as

 9 a secured creditor in the amount of $450,000, disclosing the Balboa Property as purported

10 collateral for the loan.

11             11.   However, on May 26, 2020, Debtor filed an Amended Schedule D, which removed

12 Ziba Daneshi as a secured creditor.

13             12.   Ziba Daneshi has never filed a proof of claim in Debtor’s Bankruptcy Case.

14             13.   On April 13, 2005, a deed of trust was recorded against the Balboa Property in the

15 principal amount of $370,000, listing Ziba Daneshi as the beneficiary (the “Daneshi Trust Deed”).

16             14.   However, despite multiple attempts by the Trustee to obtain information to support

17 the Daneshi Trust Deed from Debtor and Ziba Daneshi (such as, for example, a promissory note or

18 loan documents), no legitimate loan documents have been produced.

19             15.   In addition, no documents have been produced evidencing that Debtor has ever

20 made any payments on account of the purported Daneshi Trust Deed.

21             16.   The Trustee is informed and believes, and based thereon alleges, that the Daneshi

22 Trust Deed was recorded against the Balboa Property for the sole purpose of encumbering the

23 Balboa Property to shield it from potential creditors.

24             17.   Debtor’s Schedule I does not reflect any income received from any lease of the

25 Balboa Property, although the Trustee is informed that Debtor rented the Balboa Property to a

26 tenant prepetition.

27             18.   Similarly, Debtor’s Schedule J does not disclose any payments made to Ziba

28 Daneshi based on her alleged security interest against the Balboa Property.

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 1             19.   On March 26, 2021, Debtor postpetition entered into a residential lease agreement

 2 with third parties, without the Trustee’s knowledge or consent.

 3             20.   Debtor testified during his 2004 examination that the Balboa Property was being

 4 leased to a long term tenant for several years including postpetition, to Shaun Housini, for $2,500

 5 and that all rents are deposited into bank accounts belonging to Alejandro Ramy, Debtor’s adult

 6 but dependent son.

 7             21.   The Trustee requested a copy of such lease and Debtor testified that it was an “oral

 8 agreement.”

 9             22.   In addition, Debtor never turned over rents received or an accounting of rents

10 received after several requests from the Trustee’s counsel, forcing the Trustee to seek turnover

11 from the Court.

12             23.   The Trustee is informed and believes, and based thereon alleges, that Debtor paid

13 some postpetition rent to Defendant Ziba Daneshi, during 2020 and 2021, totaling no less than

14 $6,500. However, prior to the Petition Date, Debtor never made a payment to Ziba Daneshi on

15 account of her purported security interest.

16             24.   On or about February 8, 2021, Ziba Daneshi delivered a demand letter to Debtor

17 entitled “Beneficiary’s Demand for Payoff,” in which Ziba Daneshi demanded payment of

18 approximately $995,918.87 on account of the Daneshi Trust Deed. The letter included a “Straight

19 Note,” purportedly signed by Debtor in 2004. The Trustee disputes the validity of the purported

20 “Straight Note.”

21             25.   In June 2021, the Trustee received $2,800 from Debtor, which funds Debtor

22 identified as the tenant’s “deposit.” Debtor has not provided any other rent to the Trustee on

23 account of the Balboa Property.

24             26.   The Trustee has collected some rent directly from the tenant since July 2021, but

25 has never received any back rent for the postpetition period prior to July 2021.

26             27.   On January 20, 2022, the Court entered an Order Granting Motion for (1) Turnover

27 of Property of the Estate, and (2) Order Compelling Debtor to Comply [Bk. Doc. 92] (the

28 “Turnover Order”), pursuant to which the Court ordered Debtor to turn over all rent proceeds

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 1 received by the tenants of the Balboa Property as well as an accounting of all such rent proceeds to

 2 the Trustee.

 3             28.     To date, Debtor has failed to comply with the Turnover Order.

 4                                      FIRST CLAIM FOR RELIEF
 5                   For Determination of Secured Status Pursuant to 11 U.S.C. § 506(d)
 6                                    (Against Defendant Ziba Daneshi)
 7             29.     The Trustee re-alleges and incorporates by reference the allegations set forth in
 8 the preceding paragraphs as if fully set forth herein.

 9             30.     As set forth herein, the Trustee disputes that the Daneshi Trust Deed is a

10 legitimate lien and asserts that it is void and not an allowed secured claim against the Balboa

11 Property.

12             31.     Accordingly, the Trustee is entitled to a judgment declaring that the Daneshi
13 Trust Deed is void pursuant to 11 U.S.C. § 506(d).

14                                    SECOND CLAIM FOR RELIEF
15                   For Preservation of Avoided Transfer Pursuant to 11 U.S.C. § 551
16                                    (Against Defendant Ziba Daneshi)
17             32.     The Trustee re-alleges and incorporates by reference the allegations set forth in

18 the preceding paragraphs as if fully set forth herein.

19             33.     Pursuant to 11 U.S.C. § 551, the Trustee is entitled to preserve any lien void

20 under 11 U.S.C. § 506(d) for the benefit of the Estate.

21                                      THIRD CLAIM FOR RELIEF
22                     Turnover of Property of the Estate Pursuant to 11 U.S.C. § 542
23                                         (Against All Defendants)
24             34.     The Trustee re-alleges and incorporates by reference the allegations set forth in

25 the preceding paragraphs as if fully set forth herein.

26             35.     The Trustee is informed and believes, and based thereon alleges, that Defendants

27 Ziba Daneshi and Alejandro Ramy are in possession of property of this Estate, to wit: rent

28 proceeds derived from the Balboa Property.

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 1             36.    Such rents are valuable Estate property that the Trustee may use under 11 U.S.C.

 2 § 363, and are thus not of inconsequential value to the Estate.

 3             37.    Accordingly, the Trustee is entitled to turnover of all rents received by Ziba

 4 Daneshi and Alejandro Ramy from the Petition Date to the present, in amounts according to

 5 proof at trial.

 6                                          PRAYER FOR RELIEF
 7             WHEREFORE, the Trustee respectfully prays for judgment against the Defendants as
 8 follows:

 9             1.     On the first claim for relief, for a judgment declaring that the Daneshi Trust Deed is
10 void pursuant to 11 U.S.C. § 506(d);

11             2.     On the second claim for relief, for preservation of the Daneshi Trust Deed for the
12 benefit of the Estate pursuant to 11 U.S.C. § 551;

13             3.     On the third claim for relief, for turnover of all rents received by Ziba Daneshi and
14 Alejandro Ramy from the Petition Date to the present, in amounts according to proof at trial; and

15             4.     On all claims for relief, for costs of suit herein and for such other and further relief
16 as the Court deems proper.

17

18 DATED: February 2, 2022                        BG LAW LLP
19

20                                                By: /s/ Jessica L. Bagdanov
                                                     Jessica L. Bagdanov
21                                                   Attorneys for David Seror, Chapter 7 Trustee
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